                        Case 6:22-cr-10054-JWB Document 35 Filed 10/06/23 Page 1 of 1
                                     COURTROOM MINUTE SHEET - CRIMINAL HEARINGS
                                         U.S . DISTRICT COURT- WICHITA, KANSAS
                                                          Date:       { 0 ,.. ~ - :J,,, 3
United States of America,
                        Plaintiff,

V.                                                                                      Case No.       22-10054-01-JWB

 Tremayne M. Darkis                                                                     Age: _ _ _ _ _ _ _ _ __

                        Defendant.

JUDGE: D Birzer lZl Severson                                                            AUSA:      &ft-_,__ ~
DEPUTY CLER!(:  □ Anderson 121 Catier                                                   DEFENSE co~s~                                     ~
INTERPRETER: □ Vargas □ Badillo □ Ma1iinez                                              TAPE NO.: l. 4 I -               , . l..j~
               D Ping D Rivera D Vilaythong
               D Sworn
                                                             PROCEEDINGS
D Initial Appearance                                           D Detention Hearing                              □     Bond Rev. Hrg
D Initial Rule 5(c)(3)                                         D Preliminary Hearing                            □     Pretrial Conference
D Sentencing                                                   D Change of Plea
D In-Comi Hearing:
IZI Arraignment            0 Reading waived                    D Read to Defendant                              [21
                                                                                               Not Guilty Plea Entered
     4~              Superseding
D Complaint IZI Indictment D Information D Pet. Revoke Supervision IZI No. Counts:_..,r5~5- IZI Forfeiture
IZI Felony               D Misdemeanor            □ Pet. Revoke Bond
[2l' Charges/Viols. and penalties explained to Defendant
0 Constitutional rights explained
IZI Defendant affirmation/sworn                  D Examined re: financial status              D Counsel appointed
D Due Process Protections Act advisement given
D Defendant given Consular Notification
D Advised ofrights under Rule D 20 D 5(c)(3) D Transfer to:
D Signed Wvr Ind D Signed Consent to MJ D Petition to Plea filed              D Plea Agmt filed    D PSI ordered

D Release ordered                      D Bond fixed at: $ - - - - - -                     D Continued on present bond/conditions
D Oral Mot. for Detention              D Detention ordered                                IZI Remanded to custody
□ Temporary Detention granted


D Defendant waived the right to a detention hearing. The Court accepted the waiver and granted the Government motion for detention .
□  Defendant waived the right to a preliminary hearing. The Court accepted the waiver and found probable cause as alleged.
D Oral Motion by Government for detention is                  □ granted.         □ denied .         D withdrawn.        D taken under advisement.
□ Oral Motion by Defendant to continue detention and preliminary hearing is □ granted.              □ denied.
D The Government adopted the recommendations of Pretrial Services for release on conditions.
D Defendant waived the right to an identity hearing. The Court accepted the waiver and found Defendant to be the person named. Defendant
waived the right to a detention hearing in the District of Kansas. The Coutt accepted the waiver and granted the Govt. motion for detention pending
proceedings in the charging District.

Defendant's next appearance: D as directed before Judge _ _ _ _ __
                             121 per the Scheduling Order of Judge - ~ ~
                             D on _ _ _ _ _ _ _ at _ _ _ D a.m. D p.m. before Judge _ _ _ _ _ _ __
                                 In Coutiroom ______ or Via ZoomGov
                         for D detention hearing D arraignment D prelim hearing D ________
NOTES: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
